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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Consumer Financial Protection Bureau,

              Plaintiff,                          Case No. 3:17-CV-00101-RDM
                                                  (Hon. Robert D. Mariani)
              v.

Navient Corporation, et al.,                      Electronically Filed

              Defendants.

    PLAINTIFF’S MOTION TO DEFER THE DEADLINE FOR ITS
 RESPONSE TO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY
JUDGMENT AND TO PROHIBIT FURTHER MOTIONS FOR SUMMARY
       JUDGMENT BEFORE THE CLOSE OF DISCOVERY

      Pursuant to Local Rules 7.1 and 7.5, the Bureau respectfully moves to defer

the deadline for its response to Defendants’ motion for partial summary judgment

(Doc. 160) until 21 days after the deadline for motions for summary judgment,

which is currently set at November 7, 2019 (Doc. 141, ¶ 4a). In addition, the

Bureau respectfully requests that the Court prohibit the filing of any further

summary judgment motions until both fact and expert discovery have concluded.

The grounds for this motion are set forth in the accompanying brief. 1 A proposed

order is also being filed with this motion.


      1
       Because the brief references documents that have been designated as
confidential pursuant to the protective order, it is being filed under seal, as is the
accompanying appendix.
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      Notably, Navient initially informed the Court that its motion for partial

summary judgment would be filed during the week of December 10, 2017. See

Doc. 127, ¶ 1. However, the Court was not receptive to Navient’s filing of a

premature motion for summary judgment. See Dec. 10, 2017 Hearing Transcript, at

97:17-22. Thus, it appears that Navient delayed filing its motion until the day after

the Court appointed the special master and has now requested that the master

adjudicate the motion. While the Bureau appreciates the important role that the

special master will play in resolving discovery disputes, the Bureau does not

believe that referral of dispositive motions to the special master is appropriate.

      In the event this motion is denied, the Bureau respectfully requests 60 days

from the date of the order to file a response to Defendants’ motion for partial

summary judgment. If the Bureau must divert resources to responding to

Defendants’ summary judgment motion, a period of 60 days is necessary because

the Bureau is extremely busy with intensive fact discovery. The fact discovery

underway includes but is not limited to weekly proceedings before the special

master, the Bureau’s review of documents mentioning “Navient” or “Pioneer” to

determine whether any privilege applies, numerous fact depositions noticed by

both parties, extensive privilege log challenges by both parties, and continued

review of large volumes of documents and data produced by Defendants recently

that was responsive to requests served by the Bureau 11 to 17 months ago.

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Dated: February 6, 2019      Respectfully submitted,

                             Kristen Donoghue
                             Enforcement Director

                             David Rubenstein
                             Deputy Enforcement Director

                             Thomas Kim
                             Assistant Deputy Enforcement Director

                               /s/ Nicholas Jabbour
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                  CERTIFICATE OF NONCONCURRENCE

      Pursuant to Local Rule 7.1, I certify that I conferred with counsel for

Defendants regarding this motion and was informed that Defendants do not concur

in the relief requested by this motion.



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                         CERTIFICATE OF SERVICE

      I certify that, on February 6, 2019, I filed the foregoing document using the

Court’s ECF system, which will send notification of such filing to counsel for

Defendants.

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